Case 3:10-cv-05549-JAP-LHG Document 1 Filed 10/26/10 Page 1 of 6 PageID: 1
Case 3:10-cv-05549-JAP-LHG Document 1 Filed 10/26/10 Page 2 of 6 PageID: 2
Case 3:10-cv-05549-JAP-LHG Document 1 Filed 10/26/10 Page 3 of 6 PageID: 3
Case 3:10-cv-05549-JAP-LHG Document 1 Filed 10/26/10 Page 4 of 6 PageID: 4
Case 3:10-cv-05549-JAP-LHG Document 1 Filed 10/26/10 Page 5 of 6 PageID: 5
Case 3:10-cv-05549-JAP-LHG Document 1 Filed 10/26/10 Page 6 of 6 PageID: 6
